                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                                 Plaintiff,

        v.                                         No. 14-3106-15-CR-S-MDH

 ROBERT CANALES,

                                 Defendant.

                                       PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.        The Parties. The parties to this agreement are the United States Attorney’s Office

for the Western District of Missouri (otherwise referred to as “the Government” or “the United

States”), represented by Tammy Dickinson, United States Attorney, and Randall D. Eggert,

Assistant United States Attorney, and the defendant, Robert Canales, represented by Charles

Douglas Shull.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any other

federal, state or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2.        Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to

Count 1 of the Third Superseding Information, charging him with a violation of 21 U.S.C. §

841(a)(1) and (b)(1)(C) and § 846, that is, Conspiracy to Distribute a Mixture or Substance

Containing a Detectable Amount of Methamphetamine. The defendant also agrees to forfeit to the




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United States the property described in Forfeiture Allegation 1 of the Third Superseding

Information. By entering into this plea agreement, the defendant admits that he knowingly

committed this offense, and is, in fact, guilty of this offense.

       3.      Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which the defendant is pleading guilty are as follows:

        Concerning Count 1 of the Third Superseding Information, between June 1, 2013, through
November 29, 2014, said dates being approximate, in Greene, Polk, Christian, Jasper, Laclede,
and Webster Counties, in the Western District of Missouri and elsewhere, the defendant, Robert
CANALES along with others knowingly and intentionally conspired and agreed with each other
to distribute a mixture or substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code, Sections 846 and
841 (a)(1) and (b)(1)(C).

        Beginning in 2012, the United States Drug Enforcement Administration (hereinafter
“DEA”), assisted by the United States Internal Revenue Service (hereinafter “IRS”), the Missouri
State Highway Patrol (hereinafter “MSHP”), the Springfield, Missouri, Police Department
(hereinafter “SPD”), and other affiliated law enforcement agencies, investigated a large-scale
methamphetamine distribution network in southwest Missouri involving several sources of
supply both inside and outside of Missouri. The leaders of this distribution network in southwest
Missouri were identified as Kenneth FRIEND and Daniel and Kenna HARMON. The
FRIEND/HARMON Drug Trafficking Organization (hereinafter FRIEND/HARMON DTO)
obtained pound amounts of methamphetamine from sources of supply in Kansas City, St. Louis,
as well as from the State of Oklahoma, for distribution in the Springfield, Missouri, area.

        Beginning in March 2014, members of the DEA, MSHP, and SPD began investigating the
drug trafficking activities of Melody CARPENTER. CARPENTER received methamphetamine
from FRIEND, and helped “broker” methamphetamine transactions between FRIEND and other
methamphetamine suppliers. One of these sources of supply of methamphetamine that
CARPENTER helped broker for FRIEND was Nelson OLMEDA.

        During the investigation, DEA and IRS agents obtained authority from the United States
District Court to conduct T-III wire intercepts on several of Kenna HARMON’s telephones, as
well as the telephones of FRIEND and CARPENTER. During these intercepts, agents obtained
conversations between FRIEND and CARPENTER regarding the distribution of
methamphetamine. On November 3, 2014, officers intercepted a telephone call between FRIEND
and CARPENTER. During the call, FRIEND asked CARPENTER how much “shit” she had left
(believed to be a reference to methamphetamine). CARPENTER said she did not know, and that
she had some money for FRIEND. CARPENTER then told FRIEND she had someone that
wanted her to “pick up a big one, a full one right now.” FRIEND then asked “a pound?”


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CARPENTER replied, “Yeah.” FRIEND asked how much the pound would cost and
CARPENTER said “I’d say probably 12.” FRIEND agreed to purchase the methamphetamine.

         Following the intercepted communications, surveillance was established at FRIEND's
house. Surveillance followed FRIEND and CARPENTER to a residence in Springfield, Missouri,
then followed FRIEND and CARPENTER back to FRIEND’s house. A short time later,
CARPENTER left FRIEND's house, and was detained by members of the DEA. Officers
subsequently seized approximately 4 to 6 ounces of methamphetamine from CARPENTER, and
in a post-Miranda interview, CARPENTER said she had just brokered a two-pound
methamphetamine transaction between FRIEND and OLMEDA. CARPENTER said one of the
ounces of methamphetamine officers seized from her was given to her by FRIEND for brokering
the transactions, and said the remaining methamphetamine she had purchased from FRIEND
earlier in the week.

       On November 4, 2014, CARPENTER contacted OLMEDA and obtained a sample of
methamphetamine from him. CARPENTER indicated that OLMEDA was currently at a location
in Springfield, Missouri, attempting to distribute two pounds of methamphetamine. Officers
responded to the aforementioned address. When they arrived, they encountered the owner of the
residence. They spoke to him regarding OLMEDA being at the residence, and he indicated that
OLMEDA was not staying there.

      The officers obtained consent to search the property from the owner. Inside the master
bedroom, inside a sock under the bed, they discovered approximately two pounds of
methamphetamine. The methamphetamine was field tested and gave a positive result for
methamphetamine. OLMEDA was subsequently arrested.

        When OLMEDA was arrested on November 4, 2014, with the 2 pounds of
methamphetamine, co-defendant Robert EDSON was with him. EDSON took officers to the
Lake of the Ozarks area and opened the hotel room where OLMEDA had been staying. EDSON
indicated that he was staying with OLMEDA, and EDSON had the room key. EDSON also
indicated that his girlfriend had reserved the room, but OLMEDA was paying for it. EDSON
turned over another pound of methamphetamine and $20,000 in United States currency from the
room. CANALES was staying in a separate bedroom at the same hotel. Altogether, law
enforcement officers seized approximately $20,000 and $1,302 in United States currency from
OLMEDA, CANALES, and EDSON on or about November 6, 2014, at the Lake of the Ozarks
hotel room.

        Following OLMEDA's arrest, SPD arrested EDSON and CANALES on December 22,
2014, while EDSON was attempting to deliver a half pound of methamphetamine to a male. SPD
responded because the male was so confused or high that he called the police when EDSON and
CANALES knocked on his door because he thought they were trying to rob him. The police
responded and found both men sitting in a car outside of the male's residence. EDSON was sitting
in the driver's seat, and CANALES was in the rear of the vehicle. Officers smelled a strong odor
of marijuana when they opened the car.


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        The officers spoke to the male who confirmed that he did know EDSON, but had not
recognized him when EDSON was knocking on the doors and windows. EDSON then tried to
walk away from the officers (even though he was in handcuffs) and had to be physically
restrained.

       Officers began searching the car based on the smell of marijuana and found a rolled up
sock containing approximately a half pound (222 grams) of methamphetamine (similar to the
socks containing the methamphetamine when OLMEDA was arrested).

     In summary, OLMEDA provided methamphetamine for FRIEND.                     CANALES and
EDSON assisted OLMEDA in the distribution of this methamphetamine.

        CANALES has a prior felony drug conviction. On or about January 8, 2009, in the District
Court of Harris County, Texas, CANALES was convicted of Possession with Intent to Deliver
Cocaine in Case No. 1161689. The effect of the prior conviction relating to controlled substances
is that CANALES is subject to a mandatory maximum sentence of 30 years’ imprisonment on
Count 1 and other punishments as set forth in 21 U.S.C. § 841(a)(1) and (b)(1)(C).

       4.      Use of Factual Admissions and Relevant Conduct.                    The defendant

acknowledges, understands and agrees that the admissions contained in paragraph 3 and other

portions of this plea agreement will be used for the purpose of determining his guilt and advisory

sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the

calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The

defendant acknowledges, understands and agrees that the conduct charged in any dismissed counts

of the indictments, as well as all other uncharged, related criminal activity, may be considered as

“relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the

charge to which he is pleading guilty.

       5.      Statutory Penalties. The defendant understands that, upon his plea of guilty to

Count 1 of the Third Superseding Information, charging him with Conspiracy to Distribute a

Mixture or Substance Containing a Detectable Amount of Methamphetamine, the maximum

penalty by statute the Court may impose is not more than 30 years’ imprisonment, at least 6 years’

supervised release, a $2,000,000 fine, and a $100 mandatory special assessment per felony count

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of conviction, which must be paid in full at the time of sentencing. The defendant further

understands that this offense is a Class B felony.

       6.        Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

              a.     in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant’s
       applicable Guidelines range, unless the sentence imposed is “unreasonable;”

              b.     the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;

              c.      in addition to a sentence of imprisonment, the Court may impose a
       term of supervised release of at least 6 years;

              d.      the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Sentencing Guidelines
       range;

               e.      any sentence of imprisonment imposed by the Court will not allow
       for parole;

              f.     the Court is not bound by any recommendation regarding the
       sentence to be imposed or by any calculation or estimation of the Sentencing
       Guidelines range offered by the parties or the United States Probation Office; and

               g.     the defendant may not withdraw his guilty plea solely because of the
       nature or length of the sentence imposed by the Court.

               h.     The defendant agrees that the United States may institute civil,
       judicial or administrative forfeiture proceedings against all forfeitable assets in
       which the defendant has an interest, and that he will not contest any such forfeiture
       proceedings;

               i.      The defendant agrees to forfeit all interests he owns or over which
       he exercises control, directly or indirectly, in any asset that is subject to forfeiture
       to the United States, either directly or as a substitute for property that was subject
       to forfeiture but is no longer available for the reasons set forth in 21 U.S.C. § 853(p),
       including but not limited to the following specific property: approximately $20,000
       and $1,302 in United States currency, seized on or about November 6, 2014

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(Forfeiture Allegation 1). With respect to any asset which the defendant has agreed
to forfeit, the defendant waives any constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this plea agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment under the
Eighth Amendment to the United States Constitution.

        j.       The defendant agrees to fully and truthfully disclose the existence,
nature and location of all assets forfeitable to the United States, either directly or as
a substitute asset, in which he, his co-defendants and his co-conspirators have or
had any direct or indirect financial interest, or exercise or exercised control, directly
or indirectly, during the period from June 1, 2013, to the present. The defendant
also agrees to fully and completely assist the United States in the recovery and
forfeiture of all such forfeitable assets;

        k.      The defendant agrees not to contest the transfer of approximately
$20,000 and $1,302 in United States currency, seized on or about November 6,
2014, from any state or local agency to the United States, and to take whatever steps
are necessary to facilitate that transfer. The defendant specifically agrees and
authorizes any state or local law enforcement agency having possession of property
subject to federal forfeiture to release the property to a federal agency, either prior
to or after entry of an order forfeiting the defendant’s interest in such property.
Further, the defendant agrees to hold harmless any state or local law enforcement
agency which releases such property to any federal agency for federal forfeiture
proceedings;

        l.     The defendant agrees to take all necessary steps to comply with the
forfeiture matters set forth herein before his sentencing;

        m.      In the event any federal, state or local law enforcement agency
having custody of the property decides not to pursue forfeiture of the property due
to its minimal value, the defendant hereby abandons any interest he has in such
property and consents to the destruction or any other disposition of the property by
the federal, state or local agency without further notice or obligation whatsoever
owing to the defendant;

        n.      Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that the United States will use the financial information when making its
recommendation to the Court regarding the defendant’s acceptance of
responsibility; and


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               o.      At the request of the USAO, the defendant agrees to undergo any
       polygraph examination the United States might choose to administer concerning
       the identification and recovery of forfeitable assets and restitution.

       7.      Government’s Agreements. Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea

agreement, agrees not to bring any additional charges against the defendant for any federal criminal

offenses related to Count 1 of the Third Superseding Information for which it has venue and which

arose out of the defendant’s conduct described above. Additionally, the United States Attorney

for the Western District of Missouri agrees to dismiss the Second Superseding Indictment and the

First Superseding Indictment at sentencing as to the defendant.

        The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence against

the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the United States Attorney for the Western District of Missouri has no knowledge.

       The defendant recognizes that the United States’ agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement. If the defendant breaches this plea agreement, the United

States retains the right to proceed with the original charges and any other criminal violations

established by the evidence. The defendant expressly waives his right to challenge the initiation

of the dismissed or additional charges against him if he breaches this agreement. The defendant

expressly waives his right to assert a statute of limitations defense if the dismissed or additional

charges are initiated against him following a breach of this agreement. The defendant further

understands and agrees that, if the Government elects to file additional charges against him

following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

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       8.      Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct. This may include information concerning the background, character and conduct

of the defendant, including the entirety of his criminal activities. The defendant understands these

disclosures are not limited to the count to which he has pleaded guilty. The United States may

respond to comments made or positions taken by the defendant or the defendant’s counsel, and to

correct any misstatements or inaccuracies. The United States further reserves its right to make any

recommendations it deems appropriate regarding the disposition of this case, subject only to any

limitations set forth in this plea agreement. The United States and the defendant expressly reserve

the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal

Rules of Criminal Procedure.

       9.      Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and

its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to

their pre-plea agreement positions to the fullest extent possible. However, after the plea has been

formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court

rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the

withdrawal. The defendant understands that, if the Court accepts his plea of guilty and this plea

agreement but subsequently imposes a sentence that is outside the defendant’s applicable

Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he will not be permitted to withdraw his pleas of guilty.

       10.     Agreed Guidelines Applications.          With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

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       a.     The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

       b.    The applicable Guidelines section for the offense of conviction is
U.S.S.G. § 2D1.1;

       c.       There are no agreements between the parties regarding the
applicability of Sentencing Guideline enhancements in this case;

        d.       The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a 3-level reduction pursuant to § 3E1.1(b)
of the Sentencing Guidelines. The Government, at the time of sentencing, will file
a written motion with the Court to that effect, unless the defendant: (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

        e.     There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine her
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

        f.      The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

        g.     The defendant understands that the Court may impose any sentence
authorized by law, including any sentence outside the applicable Guidelines range
that is not “unreasonable.” The Government agrees to recommend a sentence
within the applicable guideline range in the case. This agreement by the
Government is not binding upon the Court or the United States Probation Office,
and the Court may impose any sentence authorized by law, including any sentence
outside the applicable Guidelines range that is not “unreasonable;”

       h.     The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s

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       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination beyond
       a reasonable doubt of all facts used to determine and enhance the sentence imposed,
       and waives any right to have those facts alleged in the information. The defendant
       also agrees that the Court, in finding the facts relevant to the imposition of sentence,
       may consider any reliable information, including hearsay; and

              i.      The defendant understands and agrees that the factual admissions
       contained in paragraph 3 of this plea agreement, and any admissions that he will
       make during his plea colloquy, support the imposition of the agreed upon
       Guidelines calculations contained in this agreement.

       11.     Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12.     Change in Guidelines Prior to Sentencing. The defendant agrees that, if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by the defendant to be sentenced pursuant to the new Guidelines will make this plea

agreement voidable by the United States at its option. If the Government exercises its option to

void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all

criminal charges that could have been brought but for this plea agreement.

       13.     Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

               a.     oppose or take issue with any position advanced by the defendant at
       the sentencing hearing which might be inconsistent with the provisions of this plea
       agreement;

               b.      comment on the evidence supporting the charge in the information;

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               c.     oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentence imposed, and that the United States remains
       free on appeal or collateral proceedings to defend the legality and propriety of the
       sentence actually imposed, even if the Court chooses not to follow any
       recommendation made by the United States; and

               d.      oppose any post-conviction motions for reduction of sentence, or
       other relief.

       14.     Waiver of Constitutional Rights.             The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the

following rights:

               a.      the right to plead not guilty and to persist in a plea of not guilty;

             b.      the right to be presumed innocent until his guilt has been established
       beyond a reasonable doubt at trial;

               c.     the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

               d.      the right to confront and cross-examine the witnesses who testify
       against him;

               e.      the right to compel or subpoena witnesses to appear on his behalf;
       and

              f.      the right to remain silent at trial, in which case his silence may not
       be used against him.

       The defendant understands that, by pleading guilty, he waives or gives up those rights and

that there will be no trial. The defendant further understands that, if he pleads guilty, the Court

may ask him questions about the offense to which he pleaded guilty, and if the defendant answers

those questions under oath and in the presence of counsel, his answers may later be used against

him in a prosecution for perjury or making a false statement. The defendant also understands that

he has pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or


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ammunition and might be deprived of other rights, such as the right to vote or register to vote, hold

public office, or serve on a jury.

      15.      Waiver of Appellate and Post-Conviction Rights.

               a.       The defendant acknowledges, understands and agrees that, by
       pleading guilty pursuant to this plea agreement, he waives his right to appeal or
       collaterally attack a finding of guilt following the acceptance of this plea agreement,
       except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
       misconduct; and

               b.     The defendant retains his right to appeal any Sentencing Guidelines
       issues that have not been agreed upon by the parties. However, the defendant
       otherwise expressly waives his right to appeal his sentence, directly or collaterally,
       on any ground except claims of (1) ineffective assistance of counsel; (2)
       prosecutorial misconduct; or (3) an illegal sentence. An "illegal sentence" includes
       a sentence imposed in excess of the statutory maximum, but does not include less
       serious sentencing errors, such as a misapplication of the Sentencing Guidelines or
       an abuse of discretion. However, if the United States exercises its right to appeal
       the sentence imposed as authorized by 18 U.S.C. § 3742(b), the defendant is
       released from this waiver and may, as part of the Government's appeal, cross-appeal
       his sentence as authorized by 18 U.S.C. § 3742(a) with respect to any issues that
       have not been stipulated to or agreed upon in this agreement.

       16.     Financial Obligations.      By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

               a.      The Court may order restitution to the victims of the offense to
       which the defendant is pleading guilty. The defendant agrees that the Court may
       order restitution in connection with the conduct charged in any counts of the
       information which are to be dismissed and all other uncharged, related criminal
       activity;

              b.     The United States may use the Federal Debt Collection Procedures
       Act and any other remedies provided by law to enforce any restitution order that
       may be entered as part of the sentence in this case and to collect any fine;

                c.     The defendant will fully and truthfully disclose all assets and
       property in which he has any interest, or over which the defendant exercises control,
       directly or indirectly, including assets and property held by a spouse, nominee or
       other third party. The defendant’s disclosure obligations are ongoing, and are in
       force from the execution of this agreement until the defendant has satisfied the
       restitution order in full;

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        d.      Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

        e.      At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

        f.      The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

        g.      The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing;

       h.      The defendant certifies that he has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that he will make no such transfers in the future; and

         i.     In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.


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       17.     Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case including, without

limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,

or the Privacy Act of 1974, 5 U.S.C. § 552a.

       18.     Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

       19.     Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing

of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

       The defendant also understands and agrees that, in the event he violates this plea

agreement, all statements made by him to law enforcement agents subsequent to the execution of

this plea agreement, any testimony given by him before a grand jury or any tribunal, or any leads

from such statements or testimony, shall be admissible against him in any and all criminal

proceedings. The defendant waives any rights that he might assert under the United States

Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the

Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any

statements made by him subsequent to this plea agreement.

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       20.     Defendant’s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court, his

attorneys, or any other party to induce him to enter his plea of guilty.

       21.     No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above stated terms and conditions, together with any written supplemental agreement

that might be presented to the Court in camera, constitute the entire plea agreement between the

parties, and that any other terms and conditions not expressly set forth in this agreement or any

written supplemental agreement do not constitute any part of the parties’ agreement and will not

be enforceable against either party.

       22.     Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any




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drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

                                             TAMMY DICKINSON
                                             United States Attorney



Dated: 12/21/16                       By:    /s/ Randall D. Eggert
                                             RANDALL D. EGGERT
                                             Assistant United States Attorney
                                             Missouri Bar No. 39404

        I have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the Third Superseding Information. Further, I have consulted with my attorney
and fully understand my rights with respect to the provisions of the Sentencing Guidelines. I have
read this plea agreement and carefully reviewed every part of it with my attorney. I understand
this plea agreement and I voluntarily agree to it.

Dated: 12/21/16                              /s/ Robert Canales
                                             ROBERT CANALES
                                             Defendant

        I am Defendant Robert Canales’ attorney. I have fully explained to him his rights with
respect to the offense charged in the Third Superseding Information. Further, I have reviewed
with him the provisions of the Sentencing Guidelines which might apply in this case. I have
carefully reviewed every part of this plea agreement with him. To my knowledge, Robert Canales’
decision to enter into this plea agreement is an informed and voluntary one.


Dated: 12/21/16                              /s/ Charles Douglas Shull
                                             CHARLES DOUGLAS SHULL
                                             Attorney for Defendant




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